            Case 3:23-cr-00281-SI       Document 1     Filed 08/22/23    Page 1 of 4




                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:23-cr-00281-AN

               v.                                    INFORMATION

YURIY VIKTOROVICH VASILCHUK,                         18 U.S.C. § 1343

               Defendant.

                      THE UNITED STATES ATTORNEY CHARGES:

                              INTRODUCTORY ALLEGATIONS

At all times relevant to this Indictment:

       1.      YURIY VIKTOROVICH VASILCHUK, defendant herein, was a resident of

Portland, Oregon. VASILCHUK was convicted of felony offenses in the Superior Court of

Washington County of Clark case number 17-1-00054-0. On November 8, 2017, VASILCHUK

pled guilty to multiple offenses, including under Revised Code of Washington 9A.52.025,

Residential Burglary, and Revised Code of Washington 9A.60.020, Forgery.

       2.      On March 27, 2020, President Trump signed the Coronavirus Aid, Relief, and

Economic Security (CARES) Act into law. The CARES Act created the Paycheck Protection

Program (PPP), which authorized the Small Business Administration (“SBA”) to guarantee loans

of up to $10,000,000 to qualifying employers without collateral or personal guarantees from the

Indictment                                                                                Page 1
            Case 3:23-cr-00281-SI           Document 1       Filed 08/22/23       Page 2 of 4




borrowers. The Act required lenders making loans under the PPP to defer all repayment

obligations for not less than six months on such loans and required borrowers to certify, among

other things, that the borrowed “funds [would] be used to retain workers and maintain payroll or

make mortgage payments, lease payments, and utility payments.”

       3.        In order to obtain a PPP loan, an applicant was required to provide information

about the subject business’s operations, such as the date of opening, number of employees,

average payroll expenses, and past revenues. The applicant was also required to certify that he

or she had not suffered any disqualifying criminal convictions and that all the information in the

application was true and correct to the best of the applicant’s knowledge.

       4.        The authorized representatives of each PPP loan applicant was also required to

make various certifications, including the following:

            a. That all loan proceeds would “be used to retain workers and maintain payroll or

               make mortgage payments, lease payments, and utility payments”;

            b. That within the last 5 years the applicant has not been convicted, pleaded guilty, pleaded

               nolo contendere, or commenced any form of parole or probation for any felony involving

               fraud, bribery, embezzlement, or a false statement in a loan application or any application

               for federal financial assistance; and,

            c. That all the information in the application and the information “provided in all

               supporting documents” was true and accurate in all material respects.

       5.        PPP loan applications were submitted over the Internet to participating lenders via

the SBA’s computer servers. PPP loan applications submitted after January 11, 2021, were

routed through servers located in the State of Oregon.



Information                                                                                         Page 2
             Case 3:23-cr-00281-SI      Document 1      Filed 08/22/23      Page 3 of 4




       6.       The SBA, Office of Inspector General (OIG), has direct access to PPP data of

which records may be used for the purpose of investigations relating to the PPP and the EIDL

Program and any resulting criminal, civil, or administrative proceedings.

       7.       Chime Bank LLC is a financial institution that is insured by the Federal Deposit

Insurance Corporation (“FDIC”).

                                          COUNT ONE
                                          (Wire Fraud)
                                        (18 U.S.C. § 1343)

       8.       All prior paragraphs of this Indictment are incorporated herein.

                                         THE SCHEME

       9.       From on or about March 10, 2021, and continuing through on or about November

8, 2021, defendant VASILCHUK devised and intended to devise a material scheme to defraud

the SBA and various financial institutions and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises.

       10.      Specifically, VASILCHUK applied for and secured PPP loans by submitting

applications containing false information with the intent to steal and to convert the proceeds of

those loans to his personal use and without any intent to repay those loans or to use the proceeds

thereof for any authorized purpose.

                                      MANNER AND MEANS

It was part of this scheme that:

       11.      On or about March 10, 2021, VASILCHUK applied for a PPP loan by submitting

SBA PPP application number 30009570 to the SBA.



Information                                                                                 Page 3
             Case 3:23-cr-00281-SI     Document 1       Filed 08/22/23     Page 4 of 4




       12.      On SBA PPP application number 30009570, under penalties of perjury,

VASILCHUK certified that within the past five years he had not been convicted of or pled

guilty to a felony involving fraud, bribery, embezzlement, or a false statement in a loan

application or any application for federal financial assistance. VASILCHUK certified that all

the information in the application was true and correct to the best of his knowledge.

       13.      Based on the information provided in application number 30009570, on or about

May 1, 2021, PPP loan number 63104989-04 in the amount of $12,368 was funded and

disbursed to VASILCHUK’s Chime Bank account ending in digits 1276.

       14.      After receiving the proceeds of the PPP, VASILCHUK spent the proceeds

thereof on personal expenses.

All in violation of Title 18, United States Code, Sections 1343.


Dated: August 22, 2023                               Respectfully submitted,

                                                     NATALIE K. WIGHT
                                                     United States Attorney

                                                     /s/ Rachel Sowray________________
                                                     RACHEL SOWRAY, OSB #095159
                                                     Special Assistant United States Attorney




Information                                                                                 Page 4
